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                                   STATEMENT OF FACTS

        Your affiant, Task Force Officer Christina Freisleben with the Federal Bureau of
Investigation (“FBI”) is assigned to Joint Terrorism Task Force (JTTF) in Chicago, IL. In my
duties as a Task Force Officer, I investigate criminal violations related to Domestic and
International Terrorism. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the U.S. Senate were meeting in separate
chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the House and the Senate,
including the President of the Senate, Vice President Mike Pence, were instructed to—and did—
evacuate the chambers. Accordingly, the joint session of the U.S. Congress was effectively
suspended until shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from
the time he was evacuated from the Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On about January 15, 2021, FBI Dallas received a tip from an individual who explained
that that his/her spouse received, via text message, three photos that appeared to be taken from
inside the U.S. Capitol building. The tipster shared the photos with the FBI, and agents confirmed
by comparison to surveillance footage and other sources that the pictures were taken inside the
U.S. Capitol building at around 2:25 – 2:30 pm on January 6, 2021. The tipster reported that the
texts were sent from KIMBERLY DIFRANCESCO from cell phone number (XXX) XXX-3675.
The tipster reported that DIFRANCESCO was a friend of his/her spouse. Two of the texted photos
are provided below:




        According to records obtained through a search warrant served on AT&T, on January 6,
2021, the cell phone associated with (XXX) XXX-3675 was identified as having utilized a cell site
consistent with providing service to a geographic area that included the interior of the U.S. Capitol
building. Subscriber records for number (XXX) XXX-3675 indicated the registered owner of the
account is KIMBERLY DIFRANCESCO, with a subscriber address in Elmhurst, Illinois.

        Toll records for KIMBERLY DIFRANCESCO’s phone indicated that KIMBERLY
DIFRANCESCO made contact with another cell phone on January 6, with the number (XXX)
XXX-1555. The (XXX) XXX-1555 number was identified through AT&T records as also having
utilized a cell site consistent with providing service to a geographic area that included the interior
of the U.S. Capitol building on January 6, 2021. AT&T records indicted the phone associated with
(XXX) XXX-1555 is assigned to TRUDY DiFrancesco, at the same address in Elmhurst, Illinois.


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The AT&T services for (XXX) XXX-1555 are also paid for by KIMBERLY DIFRANCESCO.
Based on the fact that both KIMBERLY DIFRANCESCO and TRUDY DiFrancesco are on the
same phone account, and that they reported the same last name, I believe that they are related,
though I have not determined the precise nature of their relationship. Law enforcement database
records indicate that TRUDY DiFrancesco currently uses the name TRUDY CASTLE and has
also used the name Trudy Von Keudell.

        After learning this information indicating that both DIFRANCESCO and CASTLE were
inside the U.S. Capitol on January 6, 2021, agents attempted to identify these individuals and locate
them in video or photos taken inside the Capitol that day. I have reviewed driver’s license photos
taken for both individuals and compared those photos with video footage taken on January 6.
Based on this comparison, I have located video footage of a woman I believe to be
DIFRANCESCO wearing a red hooded sweatshirt, green pants, gray gym shoes, black jacket,
black backpack, and black hat or gaiter, approaching the Senate Wing Door to the U.S. Capitol at
around 2:19 pm on January 6—just minutes after the first rioters breached the Capitol building
through a broken window next to the same door. An image from this video footage is shown at
Figure 1:




                                             Figure 1


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       A few minutes later, at approximately 2:24 pm, the same woman can be seen entering the
U.S. Capitol through the Senate Wing Door. Next to her is another woman, who based on my
review of driver’s license records and the video footage I believe to be CASTLE, who is wearing
a white jacket, dark pants, a red, white, and blue knit “Trump” hat with a pom-pom, carrying
multiple small American flags and a black satchel. An image of both women entering through the
Senate Wing Door at approximately 2:24 pm is shown at Figure 2:




                                             Figure 2

       Video from inside the Capitol shows that by around 2:29 pm, the two women made their
way from the Senate Wing Door on the northwest side of the building, to the elevator lobby near
the Visitor’s Center on the southeast side of the building, which is accessible by walking through
the Crypt. CASTLE can be seen in the image shown at Figure 3, just after rioters interfered with
the operation of a security door that appears intended to but unsuccessful at blocking access to the
adjacent hallway. She then walked through the security door as it was opening, using her arm in
what appears to be an effort to protect her head or move the door up should the door deploy
downward again, as shown at Figure 4. Moments later, DIFRANCESCO can be seen following
CASTLE through the doorway.




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                                           Figure 3




                                           Figure 4

       From there, DIFRANCESCO and CASTLE can be seen making their way down to the
lower level Visitor’s Center at around 2:30 pm, where DIFRANCESCO appears to be talking on
a handheld radio, as shown in Figure 5. At around 2:34, the women went back upstairs and exited


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the same elevator at the first floor lobby, then made their way back down the stairs to the Visitor’s
Center and up again between around 2:34 and 2:46 pm. At around 2:47, they walked back through
the Crypt and on to the Senate Wing Door, where video footage shows that they exited the building
at approximately 3:02 pm.




                                             Figure 5

        Video footage of the Capitol grounds that afternoon shows that the two women did not
leave the vicinity after they exited the building. In fact, they sat outside for some time, and met
up with a man while they were outside. Based on my comparison of an Illinois driver’s license
photograph and the images taken outside the Capitol, I believe the man they met up with, shown
in Figure 6, is Castle’s adult son, Nicholas Von Keudell, from Hampshire, Illinois.




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                                           Figure 6

       At around 4:21 pm, CASTLE and DIFRANCESCO can be seen in video footage outside
the Capitol re-approaching the Senate Wing Door in what appears to be an effort to re-enter the
building. At that time, law enforcement officers pushed away the rioters, and the women appear
to depart, as shown in Figure 7. By around 4:33 pm, the women were seen on video surveillance
footage on the north side of the building.




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                                            Figure 7

       In an effort to determine the identity of these individuals, as described above, I compared
the surveillance footage with known photos of DIFRANCESCO, CASTLE, and Von Keudell.
Based on these comparisons, and based on the location of the cell phones used by CASTLE and
DIFRANCESCO at the U.S. Capitol building and grounds on January 6, I believe the individuals
described above are likely CASTLE and DIFRANCESCO, and that the man they met with after
leaving the building was Von Keudell.

        In a further attempt to identify the individuals, agents conducted interviews with
individuals who knew the women. On September 2021, agents interviewed a neighbor of
DIFRANCESCO’s who has lived next door to DIFRANCESCO since 2010 and has spoken to her
on several occasions. The neighbor reviewed Figure 8, a still image from interior US Capitol
surveillance footage, and reported that he was confident that the woman in the black coat was
DIFRANCESCO.




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                                           Figure 8

        Also in September 2021, agents interviewed an employee at the apartment complex where
law enforcement records indicate CASTLE lived in from 2014 through June 2021. The employee
reported he/she has been working full time at the apartment complex since 2017 and speaks with
the residents on a day-to-day basis. The employee reviewed Figures 3 (above) and 9 (below), and
recognized the woman in the white coat as TRUDY CASTLE. The employee did not recall seeing
her recently so checked their database and indicated she no longer rents there.




                                           Figure 9



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        I have reviewed telephone toll records for DIFRANCESCO and CASTLE’s phones, which
indicate that both DIFRANCESCO and CASTLE used their telephones to make and receive calls
and text messages during the afternoon of January 6, 2021, including during the time they were
seen in and around the U.S. Capitol building. I have reviewed historical cell site location data
associated to the toll records which plotted the location of DIFRANCESCO and CASTLE’s cell
phones from January 5, 2021 to January 7, 2021 which showed travel from Chicago area to
Washington DC and back to Chicago area during that time frame.

        I have reviewed iCloud data from DIFRANCESCO’s Apple account, which Apple records
show is registered to DIFRANCESCO. In that account, I located the three images, described
above, that were sent by text message to the tipster’s spouse. I also located additional photographs,
taken with DIFRANCESCO’s Apple iPhone, that show DIFRANSCESCO and CASTLE on
Jaunary 6 that appear to be taken outside the U.S. Capitol, including Figure 10, below.




                                             Figure 10

       Based on the foregoing, your affiant submits that there is probable cause to believe that
KIMBERLY DIFRANCESCO and TRUDY CASTLE, aka Trudy DiFrancesco, aka Trudy Von
Keudell, violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official


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functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that KIMBERLY
DIFRANCESCO and TRUDY CASTLE, aka Trudy DiFrancesco, aka Trudy Von Keudell,
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Task Force Officer Christina Freisleben
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of May 2022.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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